                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

UNITED STATES                                        )
                                                     )
v.                                                   )       Case No. 3:25-cr-00115-1
                                                     )
KIILMAR ARMANDO ABREGO GARCIA                        )

                                            ORDER

         Pending before the Court is the defendant Kilmar Abrego Garcia’s [Emergency] Motion to

Delay Issuance of Order of Release Due to the Government’s Contradictory Statements (Docket

No. 63), which, for the reasons detailed below, is GRANTED.

         As noted by the District Judge in his June 25, 2025 Memorandum Opinion, the question of

whether the government has made the proper showing to trigger the statutory authority to detain

Kilmar Abrego Garcia (“Abrego”) pending trial is important, “as it is axiomatic that an individual

has a strong interest in liberty.” (Docket No. 55 at 15) (quoting United States v. Salerno, 481 U.S.

739, 750 (1987)). Against that backdrop, the Court considers Abrego’s request to briefly remain in

U.S. Marshal custody pending further proceedings before the District Judge.

         The procedural history of this case is detailed in the Court’s prior Memorandum Opinion

(Docket No. 43 at 3-5) and is again recited here only as necessary to give context to or explanation

of the instant Order. In short, Abrego was brought back to the United States from El Salvador to

face the two human smuggling offenses charged in the May 21, 2025 indictment. (Docket No. 3.)

The government filed a motion for Abrego’s detention pending trial, which it subsequently

supplemented to recite the specific bases under the Bail Reform Act, 18 U.S.C. § 3141 et seq.,

upon which the government sought detention. (Docket Nos. 8, 14.) Abrego opposed the

government’s request for detention. (Docket No. 29.) A hearing was held on June 13, 2025. On

June 22, 2025, the Court issued a Memorandum Opinion in which the Court concluded that the




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government failed to establish a properly supported basis for a detention hearing under § 3142(f).

(Docket No. 43.) The government filed an immediate Motion for Revocation of Release Order

under § 3145 of the Bail Reform Act and a Motion for Stay of Release Order. (Docket Nos. 45,

46). 1 Because the government’s motion for a stay raised only the question of whether a detention

hearing is authorized in this case, the District Judge limited the scope of the stay request to that

issue. (Docket No. 55 at 7, n.2.) Ultimately, the District Judge denied the government’s requested

stay in a Memorandum Opinion and Order issued on June 25, 2025. (Docket Nos. 55, 56.) The

District Judge scheduled an evidentiary hearing on the government’s Motion for Revocation for

July 16, 2025, and set prehearing briefing and other hearing procedures. (Docket No. 56 at 1.)

       The Court proceeded with a hearing to review release conditions and address other issues

for Abrego’s release on June 25, 2025. Among the matters discussed were Abrego’s anticipated

remand to custody of the Department of Homeland Security (“DHS”) and the ability of the

Department of Justice to prevent interference with this criminal proceeding by stopping Abrego’s

removal from the United States. At the request of Abrego’s counsel, the Court allowed the parties

an opportunity for supplemental briefing on those issues. 2 Issuance of the order of release and

order setting release conditions was postponed pending this briefing. (Docket No. 57.)

       In a motion seeking emergency consideration, Abrego now requests that the Court delay

its release order (Docket No. 63) based on purported conflicting statements by the government,



       1
          Notwithstanding the conclusion that the government is not entitled to a detention hearing
in this case, the Court also addressed, in its June 22, 2025 Memorandum Opinion, the sufficiency
of the factors under § 3142(g) that it would consider in a properly convened detention hearing. The
analysis of the § 3142(g) factors was reserved for the parties to raise with the District Judge as
appropriate. See June 25, 2025 Memorandum Opinion (Crenshaw, J.) (Docket No. 55 at 7, n.2)
(limiting consideration of request for a stay to § 3142(f)) and (id., n.3) (“On appeal, the Court will
ensure both parties are fully heard on all pertinent disputes before conducting its de novo review.”)
       2
           The parties filed their respective submissions as directed. (Docket Nos. 60 and 65.)
                                                  2

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specifically that it intends to remove Abrego to a third country upon his return to DHS custody

following release in this case and that it would ensure Abrego is not removed before trial on the

instant criminal charges. Abrego asks the Court to “delay the issuance of the release order until the

July 16 hearing on the government’s motion for revocation” of the Court’s order for his release in

this case. (Id.) Upon the Court’s direction to the government to address Abrego’s emergency

motion, the government responded that it has no opposition to the requested delay. (Docket Nos.

64, 66.)

       A magistrate judge generally has authority to postpone enforcement of her orders pending

review by a district judge. See e.g. United States v. Johnson, No. 3:18-CR-00292-3, 2019 WL

465452, at *6 (M.D. Tenn. Feb. 6, 2019). The power to delay proceedings in this context, which

is different than when a district judge sits in review of a magistrate judge’s order, 3 is “incidental

to the power in every court to control the disposition of the causes on its docket with economy of

time for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254-55 (1936)

(citing Kan. City S. Ry. Co. v. United States, 282 U.S. 760, 763 (1931)). “How this can best be

done calls for the exercise of judgment, which must weigh competing interests and maintain an

even balance.” Id.

       The Court has considered the basis for the motion, which is the perceived conflicting

positions taken by the government regarding whether it will deport Abrego pending final

disposition of this case including the further review by the District Judge of the government’s

request for pretrial detention. Essentially, Abrego seeks the due process to which he is

constitutionally and statutorily entitled, namely whether the government can make the necessary




       3
      The legal standard in that situation is discussed by the District Judge in his June 25, 2025
Memorandum Opinion. (Docket No. 55 at 3.)
                                                  3

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showing under the Bail Reform Act for his detention pending trial. The District Judge recognized

the import of this determination in his June 25, 2025 Memorandum Opinion:

       While the Court agrees with the premise that Abrego will likely be detained by
       DHS, it departs from the Government’s position that the Executive Branch’s pursuit
       of Abrego on multiple fronts somehow renders these proceedings academic. This
       forgoes the basic tenets of due process and judiciary diligence underlying Article
       III.

(Docket No. 55 at 15.) The Court has also considered that the government, while not conceding to

the stated basis for the motion, is not opposed to the limited relief requested by Abrego. (Docket

No. 66.) Because the government agrees to the short delay in issuance of a release order, as

requested by Abrego, the Court will postpone issuance of the release order and conditions of

release to allow for the scheduled hearing on July 16, 2025 and decision by the District Judge on

the government’s Motion for Revocation.

       Abrego shall therefore remain in the custody of the United States Marshal pending further

order. He shall, to the extent practicable, be held separately from persons awaiting or serving

sentences or being held in custody pending appeal and he shall be afforded a reasonable

opportunity for private consultation with defense counsel. On order of a court of the United States

or on request of an attorney for the government, the person in charge of the facility where Abrego

remains shall deliver Abrego to the United States Marshal for purposes of an appearance in

connection with a court proceeding, including specifically but without limitation, the evidentiary

hearing set for July 16, 2025 in this case.

       It is SO ORDERED.

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                                              BARBARA D. HOLMES
                                              United States Magistrate Judge




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